Case 2:15-ml-02668-PSG-SK Document 1362 Filed 05/22/24 Page 1 of 4 Page ID #:51663



    1                       UNITED STATES DISTRICT COURT
    2                     CENTRAL DISTRICT OF CALIFORNIA
    3

    4
        IN RE: NATIONAL FOOTBALL                    Case No.: 2:15-ml-02668−PSG (SKx)
    5   LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION
    6                                               [PROPOSED] VERDICT FORM
    7
        THIS DOCUMENT RELATES TO ALL
    8   ACTIONS
    9
        WE, THE JURY, unanimously find as follows:
   10

   11                            CLAIM 1: SHERMAN ACT § 1
   12
        1.    On the Residential Plaintiffs’ Claim that Defendants Violated Section 1
   13         of the Sherman Act, we find in favor of:
   14
                    Residential Plaintiffs   _____
   15

   16
                    Defendants               _____

   17

   18   2.    We find the Residential Plaintiffs are entitled to the sum of
              $__________________________ in damages.
   19
   20

   21   3.    On the Commercial Plaintiffs’ Claim that Defendants Violated Section 1
   22         of the Sherman Act, we find in favor of:

   23               Commercial Plaintiffs    _____
   24
                    Defendants               _____
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   26
        4.    We find the Commercial Plaintiffs are entitled to the sum of
   27         $__________________________ in damages.
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Case 2:15-ml-02668-PSG-SK Document 1362 Filed 05/22/24 Page 2 of 4 Page ID #:51664



    1                            CLAIM 2: SHERMAN ACT § 2
    2
        5.    On the Residential Plaintiffs’ Claim that Defendants Violated Section 2
    3         of the Sherman Act, we find in favor of:
    4
    5               Residential Plaintiffs   _____
    6
                    Defendants               _____
    7
    8
        6.    We find the Residential Plaintiffs are entitled to the sum of
    9         $__________________________ in damages.
   10
   11
   12   7.    On the Commercial Plaintiffs’ Claim that Defendants Violated Section 2
              of the Sherman Act, we find in favor of:
   13
   14
                    Commercial Plaintiffs    _____
   15
   16               Defendants               _____
   17
   18   8.    We find the Commercial Plaintiffs are entitled to the sum of
              $__________________________ in damages.
   19

   20
   21
   22   Dated: ________________         Foreperson: ______________________________
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Case 2:15-ml-02668-PSG-SK Document 1362 Filed 05/22/24 Page 3 of 4 Page ID #:51665



    1   Dated: May 22, 2024                Respectfully submitted,
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Case 2:15-ml-02668-PSG-SK Document 1362 Filed 05/22/24 Page 4 of 4 Page ID #:51666


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